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April 5, 2018                                                                   Howard M. Shapiro
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The Honorable Loretta A. Preska
United States District Judge
United States District Court for the
 Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

Re:    United States v. Tanner, No. 17-cr-61 (LAP)

Dear Judge Preska:

         Prior to the deadline for filing motions in limine, the government sought approval to
introduce Gary Tanner’s original 2014 tax return. See Dkt. 89 (hereafter Mot.). The government
argued that the return is “direct proof of charged criminal conduct,” whether because it is
“inextricably linked with the charged conduct” or necessary to “complete the story of the crimes
on trial.” Id. at 8. Defendants did not oppose the government’s request.

        Last Monday—three weeks after the deadline to file motions in limine—the government
submitted a letter motion requesting that the Court preclude evidence of Mr. Tanner’s amended
2014 tax return. See Dkt. 105 (hereafter “Ltr.”). That request should be denied, either as
untimely or on the merits. The prejudice to defendants from the government’s failure to comply
with this Court’s motions deadline is clear: Defendants would have responded differently to the
government’s initial motion to introduce tax evidence if they had known at the time that the
government—despite professing that the evidence was necessary to complete the story”—
actually meant to include only half of the story. In any event, Mr. Tanner’s amended tax return
and his original tax return are equally relevant. The government’s position, that the “complete
story” of the alleged fraud includes only its favored evidence, is fundamentally unfair.

                                       BACKGROUND

         In October 2015, Mr. Tanner filed his 2014 tax return, reporting approximately $7.47
million in long-term capital gains. Working with his accountant, Steven Bandler, Mr. Tanner
reported the payment as a long-term capital gain because he expected at the time that he would
receive a Schedule K-1 that supported that treatment. As the government notes, “in preparing to
file his tax return, Tanner described this income [to Bandler] as reflective of his payout on a
percentage of a company he had received.” Mot. 8.
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        After Mr. Tanner failed to receive a Schedule K-1 by August of 2016, he consulted with a
second accountant to determine whether he should amend his 2014 tax return in light of the fact
that his ownership interest had not been formalized. This meeting occurred before Mr. Tanner
engaged Wilmer Cutler Pickering Hale and Dorr LLP (“WilmerHale”) and before Mr. Tanner
understood he was the target of a criminal investigation. (The only attorney involved was Mr.
Tanner’s civil counsel (who had been retained in connection with a subpoena Mr. Tanner
received in a securities class action brought against Valeant in Canada); she arranged the meeting
with the second accountant because of Mr. Tanner’s uncertainty about the appropriate filing
classification. Although that accountant did not opine that an amended return was required, Mr.
Tanner opted to amend the return given that he never received the Schedule K-1 that was the
basis for his original reporting. He thus revised his description of the payment to ordinary
income, working with a WilmerHale tax attorney, to submit the amended return.

                                         DISCUSSION

        The government’s motion in limine seeks to introduce Mr. Tanner’s original 2014 tax
return (either as direct evidence or under Rule 404(b)) because it is supposedly relevant to Mr.
Tanner’s intent to conceal his “secret illicit ownership interest in Philidor.” Mot. 11. At the
same time, the government argues in its letter motion that Mr. Tanner’s amendment to the
original return is irrelevant to Mr. Tanner’s intent or otherwise inadmissible under Rule 403.
The government’s stated reasons for excluding Mr. Tanner’s amended tax return—that it was
submitted long after the instant fraud and at the direction of his criminal attorneys—are easily
refuted and, in any event, would not render Mr. Tanner’s amended 2014 tax return irrelevant. If,
as the government insists, Mr. Tanner’s original 2014 tax return is relevant to his state of mind
during the time of the alleged fraud, so too is the amended tax return to complete the story.

        Mr. Tanner’s 2014 amended return is probative of his state of mind during the alleged
fraudulent scheme. When Mr. Tanner declared the $7,472,745 as a long-term capital gain, he
was operating under the assumption that he would receive a Schedule K-1. When that
assumption proved mistaken, Mr. Tanner consulted with a second accountant and subsequently
filed an amended return reporting the payment as ordinary income. Mr. Tanner’s mistaken
assumption, together with his corrective measure, undermine the notion that Mr. Tanner believed
he had “a secret, illicit ownership interest in Philidor.” Mot. 11. The evidence of the amended
return is not merely relevant to Mr. Tanner’s state of mind, moreover. It is integral to any
faithful and “complete” story of the alleged scheme.

        The government argues that the amended return is irrelevant for two reasons: it was filed
“after the completion of the instant fraud,” and criminal counsel played “a significant, if not
exclusive, role” in its filing. Ltr. 2. Each argument lacks merit.
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         As to the first argument, the Second Circuit has long held that a defendant’s subsequent
acts may be relevant to his earlier alleged criminal intent. For example, in United States v.
Kelley, 551 F.3d 171 (2d Cir. 2009) (per curiam), the court held that fraudulent account
statements sent by the defendant after charged securities violations were relevant to his intent at
the time the alleged violations took place, id. at 175-176. More generally, the court of appeals
has recognized that “relevancy cannot be reduced to mere chronology.” United States v.
Ramirez, 894 F.2d 565, 569 (2d Cir. 1990). And consistent with these cases, precedent in this
district deems it “well established that proof of subsequent conduct may be admissible as
shedding light on a defendant’s state of mind at an earlier time, including on the issue of whether
the defendant acted with criminal intent.” United States v. Valle, 301 F.R.D. 53, 89 (S.D.N.Y.
2014), aff’d in relevant part, 807 F.3d 508 (2d Cir. 2015). In fact, the government’s motion in
limine pointed out that the Second Circuit “takes an ‘inclusionary’ approach” to such evidence.
Mot. 10. While that inclusionary approach has limits, in that actions that long post-date an
alleged fraud can be irrelevant, Mr. Tanner filed his amended return just over a year after the
alleged fraud ended—well short of the two-to-four-year timeframe that the Second Circuit has
found subsequent acts relevant to a defendant’s state of mind, see Kelley, 551 F.3d at 175.

        The government’s argument for exclusion based on the timing of the amended return is
particularly dubious given that the original tax return the government has sought to introduce
was itself filed after the alleged scheme had ended. The government cannot have it both ways.
If Mr. Tanner’s initial 2014 tax return sheds light on his state of mind regarding the payment he
allegedly received from Mr. Davenport, so too does his amended return.*

        For its second argument, the government asserts that because Mr. Tanner did not act
entirely independently of his counsel in filing the amended tax return, “there is simply no way to
infer that the amended return has any bearing on what Tanner was thinking in 2013, 2014 and
2015 when he acted in a manner that deprived Valeant of his honest services.” Ltr. 3. This
statement, of course, assumes precisely what is in dispute, namely whether Mr. Tanner “acted in
a manner that deprived Valeant of his honest services.” The government cannot prevail by
simply assuming its preferred conclusion. That aside, there is no basis for the government’s
claim that the involvement of counsel in the filing of an amended return categorically renders the
evidence irrelevant by (somehow) conclusively disproving Mr. Tanner’s explanation for the

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  Nor is this an isolated instance of the government trying to have it both ways (or of trying to
present only half of the story—i.e., a highly distorted picture—to the jury). The government also
moved in limine to admit selective post-conspiracy conduct and to limit Defendants’ cross-
examination of certain government witnesses. See Dkt. 89 at 3 n.1, 5-7. As Defendants’
opposition explained, that would allow the government to present a misleading version of the
facts, by enabling its witnesses to provide the jury with the government’s preferred story on
certain key topics while prohibiting the defense from providing the full story through cross-
examination. See Dkt. 101 at 2-4, 4-6.
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filing of the amended return. Certainly none of the out-of-circuit cases the government cites
support that claim. They hold only that a defendant’s efforts or intention to repay his fraud
victims do not negate an earlier intent to defraud, a holding that is irrelevant here because the
defense will not suggest that Mr. Tanner later repaid Valeant for the alleged deprivation of his
honest services. Rather, the amended tax return is relevant, as explained, to complete the story
that the government intends to tell through the original tax return, i.e., to prevent the government
from presenting a misleadingly incomplete picture of events.

         The government’s fallback request to preclude introduction of the 2014 amended return
under Rule 403 fares no better. The government asserts that the amended return would “confuse
the jury” by leaving jurors “with the mistaken understanding that the amendment was filed … as
a result of Tanner’s belief about the origin and nature of the money, and not as a result of his
attorney’s suggestion.” Ltr. 3. Here too, the government is simply assuming its preferred
conclusion, i.e., that such an “understanding” on jurors’ part would be “mistaken.” Whether that
is so is for the jury to resolve—after seeing all the evidence and hearing each side argue for its
preferred interpretation of that evidence. The government instead asks the Court to allow the
jury to hear only its side of the story. That is impermissible.

        Moreover, having insisted that “there is no basis to exclude [the original 2014 tax return]
pursuant to Rule 403,” Mot. 13, the government cannot credibly claim that the same rule
somehow bars evidence of Mr. Tanner’s amended 2014 tax return. Neither Mr. Tanner’s
original 2014 tax return nor his amended return “produces an emotional response that would
cause the jury to base its decision on something other than the evidence.” Mot. 13 (quoting
United States v. Pitre, 960 F.2d 1112, 1120 (2d. Cir. 1992)). And like the original 2014 tax
return, the amended return “does not relate to the non-payment of taxes, but rather to the
classification of income, and so is not prejudicial at all.” Mot. 13. Again, the government
cannot have it both ways.

                                         CONCLUSION

       The government’s request to preclude the introduction of the amended 2014 tax return
should be denied.

                                                      Respectfully submitted,

                                                      /s/ Howard M. Shapiro

                                                      Howard M. Shapiro

cc: Counsel of Record (by CM/ECF)
